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                 EXHIBIT A
                                                           FILED: 4/13/2023 11:03 AM
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                                                           David Trantham
                                                                               Denton County District Clerk
                                                                               By: Jenny Hernandez, Deputy


                                            23-3135-431
                                   CAUSE NO. _____________

DAVID DARRIGAN              &    DAR-JKTA         §       IN THE DISTRICT COURT
ENTERPRISES, LLC                                  §
Plaintiffs                                        §
                                                  §
V.                                                §       ________ JUDICIAL DISTRICT
                                                  §
KAVA CULTURE FRANCHISE                            §
GROUP CORPORATION                                 §
Defendant                                         §       DENTON COUNTY, TEXAS

     PLAINTIFFS’ ORIGINAL PETITION & REQUEST FOR DECLARATORY RELIEF

        NOW COME Plaintiffs, David Darrigan and DAR-JKTA Enterprises, LLC, and file this

their Original Petition and Request for Declaratory Relief complaining of Kava Culture Franchise

Group Corporation (hereinafter “Defendant KCFG”), and shows the Court:

                                    I.         INTRODUCTION

1.      This is a case about two illegally sold kava bar franchises. The first franchised bar

agreement was initially offered by Defendant KCFG to Plaintiff Darrigan on April 30, 2021. The

second agreement was initially offered for sale by Defendant KCFG to DAR-JKTA Enterprises,

LLC on March 16, 2022. However, the Defendant was not in compliance with the state or federal

statutory requirements for offering these types of businesses to the Plaintiffs at any time during

2021 or 2022. Accordingly, Plaintiffs seek relief from the Court in the form of rescission of the

contracts, restitution, as well as a declaratory judgment that the contracts were not in compliance

with the statutory requirements for the same.

                                         II.     PARTIES

2.      David Darrigan, Plaintiff herein, is an individual that resides at 1114 Spencer Street, Allen,

Texas 75013. The last three digits of his Social Security Number are 216. The last three digits of

his driver’s license are 220.
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3.     DAR-JKTA Enterprises, LLC, Plaintiff herein, is a Texas limited liability company with

its principal place of business located at 1114 Spencer Street, Allen, Texas 75013.

4.     Kava Culture Franchise Group Corporation, Defendant herein, is a Florida corporation with

its principal place of business in 843 Miramar Street, Cape Coral, Florida 33904. Kava Culture

Franchise Group Corporation can be served with citation by serving its registered agent, Jacqueline

Rusher, at 843 Miramar Street, Cape Coral, Florida 33904.

                             III.    JURISDICTION AND VENUE

5.     This court has subject matter jurisdiction over this action pursuant to Sections 24.007 and

24.008 of the Texas Government Code and pursuant to Article V of the Texas Constitution.

This Court has personal jurisdiction over the Florida Defendant because Defendant it purposely

availed itself of the privilege of conducting business in this state. Specifically, the Defendant

serviced the consumers of Denton, Texas and North Dallas, Texas by selling “Kava Culture” stores

for operation by the Plaintiffs in both cities. The Defendant demanded and received approximately

ten percent of the Plaintiffs’ profits (as Defendant’s purported franchisees) since December 2021.

6.     Venue is proper in Denton County, Texas pursuant to Tex. Civ. Prac. & Rem. Code

§15.002(a)(1).

                           IV.      TEX. R. CIV. P. 47 STATEMENT

7.     Plaintiffs seeks monetary relief of $1,000,000.00 or less, excluding interest, statutory or

punitive damages and penalties, and attorneys’ fees and costs, as well as injunctive relief.

                                          V.     FACTS

8.     In early 2021, Plaintiff Darrigan patronized “Kava Culture” kava bar in Tampa, Florida.

During his visit, he asked about their franchise opportunities and was directed to call the Kava

Culture main office. After signing a non-disclosure agreement, on or about April 30, 2021, the


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Defendant delivered its written offer for the sale of a Kava Culture franchise to Plaintiff Darrigan.

On or about May 3, 2021, Darrigan met with Christine Costello, Kava Culture’s franchise

salesperson. During the meeting, Costello presented the financials for five Kava Culture stores

already in operation. Costello also displayed profit margins for the stores. Convinced he was

making a good business decision, Darrigan signed an application to purchase a franchise on May

13, 2021. Next, on May 20, 2021, Darrigan signed a franchise agreement for the license to operate

a franchise Kava Culture in Denton, Texas. Plaintiff Darrigan also paid the Defendant a $25,000.00

franchise fee.

9.     Pursuant to the franchise agreement, the Defendant required the Plaintiff to make weekly

payments to its commonly owned “KC Operating Corporation” for: i) royalty fees in an amount

equal to eight percent of gross revenues; ii) marketing fees in the amount of one percent of gross

revenues; and iii) a weekly technology fee in an amount equal to one percent of gross revenues.

The Plaintiffs were also required to spend an additional one percent of gross revenues on

advertising each month. Also pursuant to the franchise agreement, the Plaintiffs were required to

purchase all of the products used operating their stores from the Defendant’s other commonly

owned supply companies: “Botanical Brewing Company,” and “Plant Tribals Company.” Those

companies supplied the brewed kava beverages and the kratom products sold in the stores,

respectively.

10.    Darrigan opened the Denton, Texas store on or about November 5, 2021. Shortly thereafter,

Darrigan decided to open another location in Dallas, Texas to increase his overall sales volume

due to the lower-than-expected profit margins at the single store. On or about March 16, 2022, the

Defendant delivered its written offer to sell a second Kava Culture franchise to Plaintiff’s newly

formed entity, DAR-JKTA Enterprises, LLC. Plaintiff DAR-JKTA Enterprises, LLC signed a


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franchise agreement on that same day for the license to operate a franchise Kava Culture in North

Dallas, Texas. Plaintiff DAR-JKTA paid the Defendant $20,000.00 as the purported franchise fee

for the North Dallas store.

11.    Since opening the Denton store in December 2021, Plaintiff Darrigan has paid at least

$209,831.13 to the Defendant and the Defendant’s affiliates. This amount represents the weekly

assessments, as well as the cost of goods and supplies the Defendant required the Plaintiff to

purchase for operating the stores. The North Dallas store is still in the build-out phase as of the

date of this filing. The Plaintiffs also incurred initial, significant expenses associated with the

opening of the Denton store in the amount of approximately $260,000.00. This amount represents

the initial build-out costs, as well as all the requisite opening expenses. The Plaintiffs have also

incurred a total cost of approximately $165,000.00 for the build-out and related expenses to open

the North Dallas, Texas store (so far).

12.    By December 12, 2023, Plaintiff Darrigan noticed highly irregular invoices from the

Defendant, and the Defendant’s affiliated suppliers, for amounts that were many tens of thousands

of dollars more than expected. He also noticed the Defendant’s suppliers did not list their prices

on the online order forms he was required to use for all the products. As a result, Plaintiff Darrigan

was forced to buy the required Kava Culture products blindly, only learning the price for the orders

he made after the fact, and then—occasionally—for amounts that far exceeded even those prices.

He also experienced ongoing errors committed by the Defendant with every facet of purchasing,

ordering, and deliveries. He also repeatedly received damaged products.

13.    As a result of these unfair and deceptive business practices, Darrigan made several written

requests to the Defendant to remedy the errors and billing problems, to no avail. Every request he

made for accommodation was flatly rejected.


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14.    Following the lack of ability to mediate the situation informally, Darrigan went back

through his franchise documents for the next steps he needed to take to try to salvage his new

business. Upon review, Darrigan found that the Defendant was not in compliance with the

requirements of the Texas Business & Commerce Code related to the offering franchises in the

state of Texas when it offered and sold either of the above franchised stores to the Plaintiffs.

Furthermore, Darrigan found that the Defendant was also not in compliance with 16 CFR Part 436,

or with the Federal Trade Commission Act at any time during his association with the Defendant.

Specifically, the Defendant failed to: i) present a franchise disclosure document to the Plaintiffs

that met the requirements of the Federal Trade Commission’s Franchise Rule; ii) register their

franchise sales in the State of Texas pursuant to the Texas Business & Commerce Code prior to

offering their franchise to Plaintiff Darrigan; iii) maintain an updated franchise disclosure

document that met the requirements of the Federal Trade Commission’s Franchise Rule; or iv)

present audited financials to the Plaintiffs to support the financial that were presented to him during

his initial franchise purchase meeting.

15.    This lawsuit for a judicial declaration of the same followed.

                                  VI.     CAUSES OF ACTION

              A. TEXAS DECEPTIVE TRADE PRACTICES ACT VIOLATION

16.    Plaintiffs hereby restate and incorporate the allegations contained in paragraphs 1 through

15 above as though set forth in full.

17.    These acts complained of in paragraphs 1 through 15 are a violation of the TEXAS

DECEPTIVE TRADE PRACTICES ACT pursuant to the tie-in statute at Title 4 Chapter 51 Subchapter

A of the TEXAS BUSINESS & COMMERCE CODE. Plaintiffs were consumers who contracted for

goods and services as described hereinabove. Defendant KCFG breached the TEXAS BUSINESS


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OPPORTUNITY ACT registration requirement which is a per se false, misleading, or deceptive act or

practice under the Texas DTPA.

18.    Accordingly, because the Defendant’s conduct constitutes false, misleading, and deceptive

business practices that are prohibited under the Texas DTPA, Plaintiffs are entitled to treble actual

damages, injunctive relief, punitive damages, and attorney fees per the TEXAS DECEPTIVE TRADE

PRACTICES ACT §17.50(b), (d).

                       B. REQUEST FOR DECLARATORY JUDGMENT

19.    Pursuant to the UNIFORM DECLARATORY JUDGMENTS ACT, TEXAS CIVIL PRACTICE AND

REMEDIES CODE §37.001 et seq., Plaintiffs seek a judicial declaration from this Court that the

franchise agreements were illegal contracts, made in direct violation of the FEDERAL TRADE

COMMISSION ACT, the TEXAS BUSINESS OPPORTUNITY ACT, and the TEXAS DECEPTIVE TRADE

PRACTICES ACT.

20.    The Plaintiffs seek to obtain this judicial declaration of the rights, status, and legal

relationships between the parties to a real controversy because the Defendant has flatly rejected

the attempts made by the Plaintiffs to resolve it informally. See TEX CIV. PRAC. & REM. CODE

§37.002(b). The judgement will actually resolve the controversy between the parties.

                                          VII.   DAMAGES

21.    Plaintiffs seek all damages to which they are entitled, including but not limited to economic

damages, restitution, and exemplary damages due to the Defendant’s violation of the Texas DTPA,

as well as other state and federal law.

                                    VIII. EQUITABLE RELIEF

22.    Plaintiffs also seek recession of the illegal franchise agreement made in violation of the

FEDERAL TRADE COMMISSION ACT, the TEXAS BUSINESS OPPORTUNITY ACT, and the TEXAS


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DECEPTIVE TRADE PRACTICES ACT.

                               IX.            CONDITIONS PRECEDENT

23.     All conditions precedent to the filing of this petition have been performed by Plaintiffs,

have been excused as a result of illegality, or have been waived.

                                         X.     ATTORNEY’S FEES

24.     Plaintiffs have been forced to retain Allen & Associates, Attorneys at Law, as a result of

Defendant’s statutory violations. Accordingly Plaintiffs seek recovery of their reasonable and

necessary attorney’s fees pursuant to the TEXAS DECLARATORY JUDGMENTS ACT, THE TEXAS

DECEPTIVE TRADE PRACTICES ACT, as well as under equitable principles.

                                   XI.        JURY TRIAL DEMANDED

25.     Plaintiffs hereby demand trial by jury and tenders the required jury fee.

                                                  PRAYER

        Plaintiffs pray the Court, after notice and hearing or trial, enters judgment in favor of

Plaintiffs, rescinds the Contracts in issue, award them actual economic damages, exemplary

damages, treble damages, punitive damages, statutory damages, award them the costs of court,

reasonable and necessary attorney's fees, and such other and further relief as Plaintiffs may be

entitled to in law or in equity.

                                                   Respectfully submitted,

                                                   ALLEN & ASSOCIATES


                                                   (Signature on next page)




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